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                     UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                            TAMPA DIVISION

DALANEA TAYLOR; TAMMY
HEILMAN; DARLENE DEEGAN;
and ROBERT A. JONES III,

            Plaintiffs,
v.                                      CASE NO.: 8:21-cv-00555-SDM-CPT
CHRIS NOCCO, in his official
capacity as Pasco County Sheriff,

            Defendant,
                                       /



                          JOINT STATUS REPORT
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      Plaintiffs and Defendant, by and through undersigned counsel and pursuant to

the Court’s Order of May 27, 2021 (Dkt. 29), hereby provide the Court with a status

report concerning the progress of discovery.

      Discovery is now closed, but the parties have agreed to carry a few matters

forward past the discovery period. The status of those matters is noted below:

    Defendant responded to Plaintiffs’ Seventh Set of Requests for Production of

      Documents on the agreed date of April 22 but has not yet produced all

      documents responsive to that request. Defendant’s counsel indicated that they

      set aside this request given the press of other business, but that they will have

      greater time to devote to this request between May 5 and the May 10 conference.

      Plaintiffs are hopeful that this final document production will be complete in

      advance of the May 10 conference.

    As agreed in the stipulation filed on April 14, Defendant has not yet provided

      responses to Plaintiffs’ Second Set of Requests for Admission. Plaintiffs agreed

      to provide Defendant until May 9, 2022, to provide responses to those requests

      (excepting the requests pertaining to body-worn camera footage, which the

      parties agree do not require a response). The parties later agreed to provide

      Defendant until May 13, 2022, to provide responses.

    Defendant has not yet taken the deposition of Plaintiff Dalanea Taylor, as that

      deposition has been delayed due to medical concerns. The parties have agreed
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      that this deposition may go forward after the close of discovery, as medical

      considerations allow.

    Defendant has a pending motion seeking a court order to require the production

      of court records pursuant to third-party subpoenas. Defendant has agreed to

      provide Plaintiffs with copies of all documents that are produced pursuant to

      these third-party subpoenas. The parties understand that the Court intends to

      discuss the motion at the May 10 status conference.

    Defendant is finalizing his review of potentially relevant emails in this case.

      Defendant does not expect for this review to result in any additional production,

      but, if the review does uncover responsive documents they will be produced.

      Defendant expects to produce any final documents on or about May 9, 2022,

      prior to the May 10 status conference.

      Other than those limited matters, discovery in this case has now concluded and

the parties have shifted their focus to prepare the case for summary judgment. Some

documents in this case have been produced pursuant to a confidentiality agreement,

and the parties are in the process of identifying documents that require redaction prior

to their introduction into the summary judgment record. The parties will also continue

to discuss whether there are any facts that can be agreed to by stipulation.
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May 5, 2022.                         Respectfully submitted,

/s/ Thomas W. Poulton                /s/ Ari S. Bargil
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                        CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on this 5th day of May, 2022, a true and correct

copy of the foregoing document was served via the Court’s CM/ECF system upon all

counsel of record.

                                     /s/ Ari S. Bargil
